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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                          §
             Plaintiff                             §
                                                   §
-vs-                                               §                   SA-14-CV-00212-XR
                                                   §
PROFESSIONAL COMPOUNDING                           §
CENTERS OF AMERICA, INC.,                          §
             Defendant                             §

                      ORDER RE-SETTING STATUS CONFERENCE
                      AND HEARING ON ALL PENDING MOTIONS

        On this day the Court considered the status of this case. This case is re-set for an in-person
status conference and hearing on all pending motions, if any, on Tuesday, January 30, 2024 at
10:30 a.m. The parties should be prepared to discuss all pending motions.

       It is so ORDERED.

       SIGNED December 21, 2023.




                                                       XAVIER RODRIGUEZ
                                                       UNITED STATES DISTRICT JUDGE
